        Case 1:17-cr-10269-WGY Document 86 Filed 04/24/19 Page 1 of 3



                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES of AMERICA,

    v.                             Case No. 1:17-cr-10269 WGY

REGINALD ABRAHAM,
          Defendant.

                          DEFENDANT'S AFFIDAVIT

    Affiant, being sworn according to law, deposes and says

under penalties of perjury as follows:

    1.      My name is Reginald Abraham and I am the defendant in

this criminal case.      I make this affidavit upon personal

knowledge and offer it in support of my motion to suppress all

evidence obtained in the warrantless search of my grey Honda

automobile by government agents on September 6, 2017.           I

respectfully request that the Court suppress all evidence

obtained or derived from this search as fruits of the poisonous

tree.

    2.      On September 6, 2017, I had sole possession and

exclusive use of a grey Honda four-door sedan, registration no.

6ND 586, with the agreement and consent of its registered owner,

Uni Auto Rental Inc. of 369 Salem Street in Malden,

Massachusetts.     I drove this as a personal vehicle for my own

use and, on September 6, 2017, no other person had a right or

claim to use or possess the grey Honda.         I did not invite any

other person or give any person the right to possess or use the


                                     1
        Case 1:17-cr-10269-WGY Document 86 Filed 04/24/19 Page 2 of 3



said grey Honda sedan.      The said Honda showed current

registration and inspection stickers and was in all respects

lawful to operate on Massachusetts public roads.          The car showed

no damage or defects that would make it unsafe to drive.

    3.      At about 4:30 in the afternoon of September 6, 2017, I

got into the said grey Honda alone and drove off the premises of

369 Salem Street in Malden onto Salem Street.          I drove along

Salem Street with the flow of traffic and in a manner that did

not violate the laws of the Commonwealth.

    4.      Within minutes, agents signaled me to stop, took me

out of the grey Honda and placed me under arrest in one of the

agent's vehicles before taking control of my car.           I was fully

compliant with the agents' commands and did nothing to make them

fear for their safety or think that I might flee.           I had no

weapons or dangerous objects on my person or in the Honda.

Agents did not claim any reason for stopping or arresting me

other than a warrant for my arrest.        One agent drove my grey

Honda off Salem Street and into the parking lot of a funeral

home.

    5.      At no time did I in any way communicate by any means

to agents that they had my permission or assent to operate or

search any part my grey Honda or its contents.

    6.      Prior to the agents' search, the trunk of the Honda

was latched fully closed. It contained many objects in boxes.


                                     2
              Case 1:17-cr-10269-WGY Document 86 Filed 04/24/19 Page 3 of 3



          7.       T he r e w ere containers such as cardboard boxes in the

back seat of the car not within my reach and objects underneath

them not visible unless these containers were moved.                                       T h e g love

compartment was closed.                    T h e r e also documents and other objects

fully enclosed in envelopes and not generally visible without

o penin g       t h e en v e l o p e s .

          8.       T h e a g e nts went into the passenger compartment and

opened a n d         s e a r c h e d t h e g l o ve box , storage compartments and

containers of all kinds, removing their contents.                                     T h e agents

opened the trunk and the boxes within it removing all their

contents.            T h e agents removed and opened boxes, bags and

envelopes and removed their contents as w ell .

          9.       In a l l the time of my arrest and search of the Honda

through my transportation to detention, I could ascertain no

public emergency or threat to public safety.

          Sworn and subscribed under penalties of perjury this

day o f       A pr i l , 2 0 19 .




                                                   R EGINALD A B R A H AM ,       Defendant

                                      C ERT I FI CATE OF SE RV I C E

     Counsel certifies that he has caused a true copy of this
affidavit to be served today through the CM/ECF system of this
District on the attorneys for all the parties as set forth in
t he Notice o f          E l e c t r o n i c F i l in g an d t h a t n o p a r t y r e q u i r e s
s erv i c e    b y ot h er m e a n s
                                                   s /Kevi n    L.   Ba r r o n
